Case 2:92-cv-02062-.]PI\/|-tmp Document 2028 Filed 07/14/05 Page 1 of 5 Page|D 9687

Fl|.ED BY ___ D.C.
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSElgg ,
WESTERN DIVISIoN JUL "* A" " 95

 

UNITED STATES OF AMERICA, WIU G.‘» §:4_? §'j%i:?»r‘-PH¥S

Plaintiff,

STATE OF TENNESSEE, ET AL.,
NO.: 92-2062-D/A
Defendants, and

PEOPLE FIRST OF
TENNESSEE,

lntervenors,

PARENT-GUARDIAN ASSOCIATION
OF ARLINGTON DEVELOPMENTAL
CENTER,

Intervenors.

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ORDER DENYING AS MOOT MOTION FOR EXTENSION OF TIME
TO RESPOND (dkt. # 1992)

 

Before the Court is the motion of Plaintiff the United States of America for an extension of
time to tile a response to Intervenor People First of Tennessee’s (“People First”) motion to disburse

iine monies to West Tennessee Family Solutions (“WTFS”). The Court ruled that People First’s

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with Rule 58 and!or 79(a) FRCP on

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motion is moot. Accordingly, the Cou.rt denies as moot Plaintiff's motion.

IT Is so 0RDERED this / g day ofJuly, 2005.

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2028 in
case 2:92-CV-02062 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

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